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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC,                                    Case No. 2:23-cv-00585-JRG-RSP

        Plaintiff,                                                       PATENT CASE

        v.                                                        JURY TRIAL DEMANDED

 ROCHE DIABETES CARE, LTD.,

        Defendant.


             SUPPLEMENTAL NOTICE OF NON-OPPOSITION TO DEFENDANT
               ROCHE DIABETES CARE LIMITED’S MOTION TO DISMISS

        Pursuant to Local Rule CV-7(e), Roche Diabetes Care Limited (“RDC Limited”) submits

 this supplemental notice of non-opposition regarding its pending Motion to Dismiss for Lack of

 Personal Jurisdiction, which was filed on May 8, 2024. See Dkt. No. 21. Plaintiff’s response was

 due May 23, 2024, but no response was filed and no extension was requested. Plaintiff has also

 failed to serve its infringement contentions, which were originally due on May 15, 2024. See Dkt.

 No. 13. RDC Limited agreed to an extension to June 25, 2024—one week ago—but Plaintiff has

 still not served its contentions or sought an extension. See Dkt. No. 35.

        This Court recently granted an unopposed motion in a nearly identical situation. See

 Symbology Innovations, LLC v. Roche Diagnostics GMBH Ltd., E.D.Tex. 2:23-cv-00630-JRG,

 Dkt. No. 14 (Gilstrap, J.). In that case, another Roche entity filed a similar Motion to Dismiss

 based on lack of personal jurisdiction, and the motion went unopposed by counsel for Plaintiff. Id.

 The Court thus found “that it ha[d] little alternative but to grant the Motion” and dismissed the

 case with prejudice. Id.




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        RDC Limited thus respectfully requests the Court deem its Motion unopposed and dismiss

 this case with prejudice. See Local Rule CV-7(e) (“(e) Time to File Response. A party opposing

 a motion has fourteen days (twenty-one days for summary judgment motions) from the date the

 motion was served in which to file a response and any supporting documents, after which the court

 will consider the submitted motion for decision.”).



    Dated: July 2, 2024                                Respectfully submitted,

                                                  By: /s/ Aaron P. Pirouznia
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                                                  COUNSEL FOR DEFENDANT
                                                  ROCHE DIABETES CARE, LIMITED




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing

 document has been served on July 2, 2024, to all counsel of record who are deemed to have

 consented to electronic service via the Court’s CM/ECF system.



                                                    /s/ Aaron P. Pirouznia
                                                    Aaron P. Pirouznia




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